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        · DEEK
      DEPOSITION
       EXCERPTS
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                                                                         Page 43

    1          quite a bit of the article, yes.

    2          BY MR. KELLY:

    3                  Q    I'm going to put up Exhibit No.1 again for

    4          you.     All right?

    5                  A    Sure.

    6                  Q    Is Exhibit No. 1 freely available to you

    7          again?

    8                               MR. HAEFNER:       Yes.

    9          BY MR. KELLY:

   10                  Q    Dr. Deek, you authored this letter.

   11          Correct?

   12                  A    I did not.

   13                  Q    You did not author this letter?
   14 .                A    I signed the letter.           Right.

   15                  Q    You signed it?

   16                 .A    Right.

   17                  Q    Who did you rely upon to author             who

   18          authored this letter, to your knowledge?

   19                  A    In this case, this is the date's out of

   20          view, this was provided to my assistant to

   21 I        September 25th-- by University counsel.

   22 I                Q    Oh.     Was it Ms. Holly Stern who authored
          I­
   23 I        this?

   24 I                             MR. HAEFNER:       Objection to the ,form.
          I
   25     I
               He's not going to discuss what counsel did and didn't
          I
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                                                                        Page 44

    1       do.

    2                           MR. KELLY:      Well, he just said

    3       university counsel provided this.

    4                           MR. HAEFNER:       He said it was provided

    5       to his assistant from -­

     6                          MR. KELLY:      No.      That's not correct,

    7       Mr. Haefner.

    8       BY MR. KELLY:

     9             Q    Let me get at it.          To your knowledge, Dr.

  . 10      Deek, who authored this letter?

   11                           MR. HAEFNER:       Objection to the extent

   12       it would reveal attorney/client privilege, you're

   13       instructed not to answer.           Otherwise, you can answer.

   14                           MR. KELLY:      He's shaking his head.

   15       What does that mean?

   16                           THE WITNESS:       I am taking my counsel

   17       from counsel not to answer.

   18       BY MR. KELLY:

   19              Q    You're taking the advice of counsel, and

   20       you're not going to answer who authored this letter.

   21       But you're saying it wasn't you.                Is that right?

   22              A    I already said it wasn't me.              It wasn't, and

   23       I will repeat.       'Cause that fact I know.           It was not

   24       me.

   25              Q    Okay.     It was an attorney -­
          --------------------

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                                                                               Page 45

    1             A      In general, Mr. Kelly, in general on

    2      appointing and terminating, on renewing, non-renewing,

    3      and in letters like this, they are not authored by my

    4      office.      We obtain those from other offices.

    5             Q     And you obtained this letter from counsel

    6      somewhere.      Is that right?

    7                          MR. HAEFNER:         Objection to the form of

    8      the question.       Calls for privileged information.

    9                          MR. KELLY:        It does not call for

   10      privilege.      Please mark that for a rUling.                    We'll

   11      certify that one for the court.                 I think we're going

   12      to have a lot of that today, but we'll have to just

   13      get through it as best we can.

   14      BY MR. KELLY:

   15             Q     Nevertheless, despite not authoring this

   16      letter, you did sign it, Dr. Deek.                     Correct?

   17             A     Absolutely.       That 1 s my signature.              Yes.·

   18             Q     Right.

   19             A      It's my -­    it's my electronic signature.

   20      It's my -­     yeah.   But that's me, of course.                   It's

   21      provided to my assistant to use.                 Yes.      On University

   22      busi·ness.

   23             Q      I see.    Your assistant would have been Cara

   24      Bartolomeo.        Is that right?                                                    I
                                                                                                I
                                                                                                I
   25             A     No.    That's a different assistant.                                    I
                                                                  ----------                  ~
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    1             Q    It says, "Plaintiff's claims are barred or

    2       otherwise fail because at all relevant times, NJIT;

    3       one, published, disseminated and enforced a neutral

    4       policy regarding disclosure of outside activities and

    5       conflicts of interests; and two, plaintiff

    6       unreasonably failed to follow NJIT's policy."

    7                  Is that correct?

    8             A    My understanding that that i~ correct.

    9             Q    And that's what you're asserting in this

   10       lawsuit~   Correct?

   11             A    Right.

   12             Q    Now,    in support of that defense, that's a

   13       defense based upon alleged OAQ violations.             Correct?

   14             A    Yes.     I believe so.

   15             Q-   You are relying upon the Saiber report of

   16       February 2018.      Is that correct?

   17                          MR. HAEFNER:       Objection to the form of

   18       the question.      You can go ahead and answer.

   19                          THE WITNESS:       Yes.      Yes.

   20       BY MR. KELLY:

   21             Q    Is there anything you don't understand about
                                                                                   i
   22       .that question?                                                        II·

   23             A    No .­

   24             Q    Along with the advice of Holly Stern.
        I
   25   I   Correct?
        ~---~----~--------~~--
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    1                          MR. HAEFNER:       Objection to the form of
    2      the question.       You can go ahead and answer.
    3      BY MR. KELLY:
    4             Q    Let me rephrase it.           You were also relying
    5      for that defense on the advice of Holly Stern.
    6      Correct?
    7                          MR. HAEFNER:       The witness is instructed
    8      not to answer about advice from counsel.
    9                          MR. KELLY:      Please mark that for a
   10      ruling to certify that question.               To be clear, at this
   11      point, I'm not asking what her advice was.               I just
   12      want to confirm that he relied upon that advice and
   13      that NJIT has relied upon that advice.
   14                          Do you understand that, Mr. Haefner?
   15                          MR. HAEFNER:       I understand.
   16                          MR. KELLY:      And you're still directing
   17      him not to answer?
   18                          MR. HAEFNER:       Correct.
   19      BY MR. KELLY:
   20             Q    Okay.     Now, going down to page 15 of the
   21      answer,Dr. Deek.        Do you see that?
   22             A    Yes, sir.
   23             Q    Okay.     On page 15, there's a fifteenth
   24      separate defense of      avoid~nce.        Correct?
                       What's the question?
                                                                         __ 1

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    1             Q    The question is:            Do you see that?

    2             A    Oh, . yeah.     I do see it.           Yes.     Yes.

    3             Q    The one that reads,            "No award of punitive

    4       damages is supported as a matter of law because

    5       defendant's alleged actions and inactions were not

    6       willful, wanton, malicious, especially egregious or

    7       with a reckless disregard for plaintiff's statutory or

    8       other rights."    Correct?

    9             A    Correct.

   10             Q    And you don't maintain that NJIT's actions

   11       were willful or in reckless disregard                      strike that.

   12       Do you disagree that the actions of NJIT amount to

   13       willful or reckless disregard of plaintiff's First

   14       Amendment rights.        Correct?

   15                        MR. HAEFNER:           Objection.         Compound.

   16       You can go ahead and answer.

   17                        THE WITNESS:           Correct.

   18       BY MR. KELLY:

   19             Q    Let me break it down, then.                   You dispute

   20       that defendant's actions were willful or malicious.

   21       Correct?

   22   I         A    Correct.

   23             Q    And you dispute that defendant's actions                             i
                                                                                            I




                                                                                         J
   24       I said defendants last time, right?                   Defendant's

   25       actions?

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                                                                          Page 150

    1                            MR. HAEFNER:        I'm not sure, Mr. Kelly.

    2       BY MR. KELLY:

    3              Q     Okay.     I'll ask it again.             Dr. Deek, you

    4       dispute the defendant's actions were willful and

    5       wanton.     Correct?

    6              A     Correct.

    7              Q    And you dispute that the defendants acted in

    8       reckless disregard with plaintiff's First Amendment

    9       rights.     Correct?

   10              A    Correct.

   11              Q    And in making that argument, you have relied

   12       upon the advice of Holly Stern.                Correct?

   13                            MR. HAEFNER:       Objection to the form of

   14.      the question -­ or not to the form.                   Instruct the

   15       witness not to answer the question.

   16                            MR. KELLY:      Please mark that for a

   17       ruling as well.        I'd like to certify the question.

   18       BY MR. KELLY:

   19              Q    Furthermore, in disputing that your actions

   20       were in reckless disregard of plaintiff's First

   21       Amendment rights, you have also relied upon the Saiber

   22       report of February 9, 2018.             Correct, Dr. Deek?
                                                                                            I
   23              A    The what?      The what?                                            I

   24
                                 MR. HAEFNER:       Saiberre_p_o_r_t_.________  I
   25                            THE WITNESS:       Yes, sir._                 ~


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                                                                     Page 151

    1      BY MR. KELLY:

    2             Q    Do you see the seventh and eighth

    3      affirmative defenses on page 14 of Exhibit lQ?

    4             A    I do.
    5             Q    And they state that a decision -­ well,

    6      correct me if I'm wrong -­ withdrawn.               Regarding the

    7      eighth affirmative defense, it states that the

    8      decision not to renew the plaintiff was legitimate and

    9      non-retaliatory.       Is that correct?

   10             A    ·Yes, sir.

   11             Q    And the basis for that is, again, the Saiber

   12      report of February 9, 2018.            Correct?

   13                          MR. HAEFNER:       Objection to the form of

   14      the question.       You can go ahead and answer.

   15                          THE WITNESS:       Yes.

   16      BY MR. KELLY:

   17             Q    Did you also rely on the advice of Holly

   18      Stern?

   19                          MR. HAEFNER:       Objection.    Witness is

   20      instructed not to answer.

   21                          MR. KELLY:      Please mark that one for a

   22      ruling, as well.       I'd like to certify that question

   23      for a ruling on later.

   24      BY MR. KELLY:

   25             Q    Now, you've also asserted in the seventh

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     1              Q     You maintain you did n~t knowingly violate

     2      the law.      Correct?

     3              A     Let me rephrase this.             No.1 don't want to

     4      rephrase anything.          You said I did not know that we

     5      violated the law?          Is that what you said?

     6              Q     I want to make sure I have your defense

     7      correct.      You are asserting in this lawsuit that you

     8      have not knowingly violated the law.                   Correct?

     9              A     That's correct.          We did not knowingly

   10       violate the law.          Yes.

   11               Q     Okay.     But the law can be kind of

   12       complicated.       Correct?

   13              A      I think so.        Like most laws.        Yes, sir.

   14               Q    And you indicated earlier that when you have

   15       an issue of sensitivity or complexity, you turn to

   16       other people to help you determine the best course of

   17       action.      Correct?

   18              A      That's correct.          I am the chief academic

   19       officer.     My secondary title, the executive vice-

   20       president, makes me the chief operating officer.

   21       There is much more to running a university than that.

   22       And   the~efore,      I consult with others.           Yes, sir.

   23               Q    And amongst those people you consult with

   24       are Holly Stern.          Correct?

   25              A     . Correct.

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    1                Q       And you consulted with her to make sure you

    2        did not knowingly violate the law with regard to Jason

    3        Jorj ani    ~   Correct?

    4                                MR. HAEFNER:       Witness is instructed not

    5        to answer the question.

    6                                MR. KELLY:      Please mark that   fo~   a

    7        ruling.         I'd like to have that question certified.

    8        BY MR. KELLY:

    9                Q       By the way -- you'll correct me if I'm

   10        wrong, Dr. Deek -- but Saiber was not the only outside

   11        law firm that NJIT consulted with to determine the

   12        appropriate course of action with regard to Jorjani.

   13        Was it?

   14·                               MR. HAEFNER:       You can answer "yes" or

   15        "no" or "I don't know."

   16                                THE WITNESS:       I don't know.

   17        BY MR. KELLY:

   18                Q       Okay.     If I showed you your privilege log

   19        listing other attorneys, would that refresh your

   20        recollection?

   21                A       It might remind me what firm, yes, they are

   22        from.       Because I obviously do recall meeting with

   23        attorneys, but I don't know if they were all from one

   24        firm.
         i
   25 I              Q       I appreciate that.
         L
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    1             A     To be frank.

    2             Q     Yes.     I'm attempting to show you what was

    3      marked previously as plaintiff's Exhibit No.1.                    It's

    4      defendant's ESI privilege log dated January 28, 2020.

    5      The font is very small.           But can you see that?

    6                           MR. HAEFNER:       Yes.

    7      BY MR. KELLY:

    8             Q     Okay.     Let me maximize it a little bit.

    9      I've got it up to 200 percent.               Is that more legible?

   10                           MR. HAEFNER:       Yes.

   11      BY MR. KELLY:

   12             Q     Okay.     If we scroll down, page 8.             Looking

   13      at entries for 124 on, they indicate that Holly Stern

   14      consulted with Trish O'Reilly of· the Walsh Law Firm

   15      and Trevor Lyons of the Walsh Law Firm on or about

   16      September 21, 2017.        Correct?

   17             A     Trish et ale is correct.                I remember that.

   18             Q     And that's Mr. Haefner's law firm.                The one

   19      that's defending you today.             Correct?

   20             A     Yes.

   21             Q     Did the Walsh Pizzi law firm help to

   22      formulate your response to the Jason Jorjani

   23      situation?

   24                           MR. HAEFNER:       Objection.       Witness is

   25      instructed not to answer.

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     1                          MR. KELLY:     r'~     just asking if he
     2       consul ted with you.     It's right there on your
     3       privilege log there, sir.         What's ,-ebjectionable?
     4                          MR. HAEFNER:         He said that there's been
     5       consultation.
    6                           MR. KELLY:     Right.
     7                          MR. HAEFNER:         You asked" "Did they
    8        formulate a response," which is the substance of
     9       the-­

   10                           MR. KELLY:     No.       I didn't ask what the
   11        substance of the response was.              Right?      I'm just
   12        asking what the subject of the inquiry was.
   13                           MR. HAEFNER:         The subject of the
   14        inquiry is response to Leibel's [ph] New York Times
   15        article.      That's why it's the subject line of the
   16        email.
   17                           MR. KELLY:     That's right.          And that was
   18        only the Jorjani article.         Right?
   19                           MR. HAEFNER:         I mean, the witness is
   20        not going to testify about what the privilege says,
   21        Mr. Kelly.
   22                           MR. KELLY:     No, no.           I want to make
   23        sure that I've appropriately identified the elements
   24    I   here.      And I need to know what the subject matter was.
   25        That's right there in the local rule.

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     1      BY MR. KELLY:

     2             Q     When it says "Response to Leibel's New York

     3      Times article," that means the Jorjani op-ed that we

     4      discussed earlier.       Correct, Dr. Deek?

     5                        MR. HAEFNER:         He can answer.      I mean,

     6      you're asking what he thinks that means.                He can

     7      answer what he thinks it means.

     8                        THE WITNESS:         Correct.

     9      BY MR. KELLY:

   10              Q     So without saying what it was they advised

   11       you to do, it remains true that the Walsh Pizzi Law

   12       Firm helped to formulate the response to Jorjani' s

   13       situation.    Correct?

   14                        MR. HAEFNER:          But you've built into the

   15       question, "helped to formulate the response."

   16                        MR. KELLY:         That's right.

   17                        MR. HAEFNER:          Which is the legal

   18       advice.

   19                        MR. KELLY:         No, no, no.       I didn't say

   20       "what steps did they actually take?"                Or "what steps

   21       did they advise you to take."             I just want to know

   22       that they helped you formulate the response.                                  II
                                                                                          I
   23                        MR. HAEFNER:          Witness is instructed not              I!
                                                                                          I
   24       to answer the question.                                                       I
                                                                                          I
   25                        MR. KELLY:        Mark that for a ruling.           I
                                                                                          I"
         L __________________________________________________________
                                                                                     -----'

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